        Case 1:21-cv-00423-MHC Document 1 Filed 01/27/21 Page 1 of 21




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

KELSEY BRENNAN; KYLE COLEMAN;       :
CARYN FRANKENFIELD; FRANK           :
GALLINE; JOHN A. JOHNSTON;          :
DAWN SNYDER; FREDRICK WAFF;         :
CORY GERYAK; and SARA RINEY;        :
individually and on behalf of similarly
                                    :
situated persons,                   :               CIVIL ACTION FILE
                                    :               NO. ______________
       Plaintiffs,                  :
                                    :
v.                                  :
                                    :
SUMMER WWK LLC; HL WOODS,           :
a.k.a. HOWARD WOODS; and            :
CHERELLE GEORGE,                    :
                                    :
       Defendants.                  :               DEMAND FOR JURY TRIAL
___________________________________ :

                    COLLECTIVE ACTION COMPLAINT

      COMES NOW Plaintiffs Kelsey Brennan, Kyle Coleman, Caryn

Frankenfield, Frank Galline, John A. Johnston, Dawn Snyder, Fredrick Waff, Cory

Geryak, and Sara Riney (together “Plaintiffs”), individually and on behalf of all

other similarly situated persons, and assert these claims against Defendants

Summer WWK LLC, HL Woods, a.k.a. Howard Woods, and Cherelle George

(together “Defendants”) under the Fair Labor Standards Act, 29 U.S.C. § 201 et

seq. (the “FLSA”), and the laws of the State of Georgia, to recover unpaid wages,
        Case 1:21-cv-00423-MHC Document 1 Filed 01/27/21 Page 2 of 21




liquidated damages, and attorneys’ fees and expenses, showing this Court as

follows:

                                INTRODUCTION

                                         1.

      This is a collective action FLSA case brought to recover for work that

Plaintiffs and similarly situated film production crew members performed for

Defendants without pay. From August to October 2020, Plaintiffs and similarly

situated film production crew members worked on the production of the motion

picture entitled “Summer When We Were Kings” (“SWWWK”) produced by HL

Woods. Production on SWWWK shut down prior to the start of principal

photography. Plaintiffs and similarly situated film production crew members were

not paid for any of the work they performed for Defendants during the time they

were employed. Extensive efforts were made to recover the wages due to Plaintiffs

and similarly situated film production crew members without litigation, but those

efforts were rebuffed by Defendants. Plaintiffs therefore have brought this lawsuit

on behalf of themselves and similarly situated film production crew members to

seek recovery of all monies due.




                                         2
         Case 1:21-cv-00423-MHC Document 1 Filed 01/27/21 Page 3 of 21




                          JURISDICTION AND VENUE

                                           2.

          The jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1331 and

29 U.S.C. § 206 et seq. and 29 U.S.C. § 216(b). Jurisdiction over Plaintiffs’ state

law claims is invoked pursuant to this Court’s supplemental jurisdiction under 28

U.S.C. § 1367.

                                           3.

       Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 as the

events or omissions giving rise to the claims described herein occurred in this

judicial district.

                                      PARTIES

                                           4.

       Plaintiff Kelsey Brennan is a resident of the State of Georgia. At all relevant

times, Plaintiff Brennan was an “employee” of Defendants as that term is defined

in 29 U.S.C. § 203(e)(1). Pursuant to 29 U.S.C. § 216(b), Plaintiff Brennan has

consented in writing to being a Plaintiff in this action. See Ex. 1.

                                           5.

       Plaintiff Kyle Coleman is a resident of the State of Georgia. At all relevant

times, Plaintiff Coleman was an “employee” of Defendants as that term is defined

                                           3
        Case 1:21-cv-00423-MHC Document 1 Filed 01/27/21 Page 4 of 21




in 29 U.S.C. § 203(e)(1). Pursuant to 29 U.S.C. § 216(b), Plaintiff Coleman has

consented in writing to being a Plaintiff in this action. See Ex. 2.

                                           6.

      Plaintiff Caryn Frankenfield is a resident of the State of Louisiana. At all

relevant times, Plaintiff Frankenfield was an “employee” of Defendants as that

term is defined in 29 U.S.C. § 203(e)(1). Pursuant to 29 U.S.C. § 216(b), Plaintiff

Frankenfield has consented in writing to being a Plaintiff in this action. See Ex. 3.

                                           7.

      Plaintiff Frank Galline is a resident of the State of Georgia. At all relevant

times, Plaintiff Galline was an “employee” of Defendants as that term is defined in

29 U.S.C. § 203(e)(1). Pursuant to 29 U.S.C. § 216(b), Plaintiff Galline has

consented in writing to being a Plaintiff in this action. See Ex. 4.

                                           8.

      Plaintiff John A. Johnston is a resident of the State of Louisiana. At all

relevant times, Plaintiff Johnston was an “employee” of Defendants as that term is

defined in 29 U.S.C. §203(e)(1). Pursuant to 29 U.S.C. § 216(b), Plaintiff Johnston

has consented in writing to being a Plaintiff in this action. See Ex. 5.




                                           4
        Case 1:21-cv-00423-MHC Document 1 Filed 01/27/21 Page 5 of 21




                                           9.

      Plaintiff Dawn Snyder is a resident of the State of California. At all relevant

times, Plaintiff Snyder was an “employee” of Defendants as that term is defined in

29 U.S.C. § 203(e)(1). Pursuant to 29 U.S.C. § 216(b), Plaintiff Snyder has

consented in writing to being a Plaintiff in this action. See Ex. 6.

                                          10.

      Plaintiff Fredrick Waff is a resident of the State of California. At all relevant

times, Plaintiff Waff was an “employee” of Defendants as that term is defined in

29 U.S.C. § 203(e)(1). Pursuant to 29 U.S.C. § 216(b), Plaintiff Waff has

consented in writing to being a Plaintiff in this action. See Ex. 7.

                                          11.

      Plaintiff Cory Geryak is a resident of the State of California. At all relevant

times, Plaintiff Geryak was an “employee” of Defendants as that term is defined in

29 U.S.C. § 203(e)(1). Pursuant to 29 U.S.C. § 216(b), Plaintiff Geryak has

consented in writing to being a Plaintiff in this action. See Ex. 8.

                                          12.

      Plaintiff Sara Riney is a resident of the State of Georgia. At all relevant

times, Plaintiff Riney was an “employee” of Defendants as that term is defined in




                                           5
        Case 1:21-cv-00423-MHC Document 1 Filed 01/27/21 Page 6 of 21




29 U.S.C. § 203(e)(1). Pursuant to 29 U.S.C. § 216(b), Plaintiff Riney has

consented in writing to being a Plaintiff in this action. See Ex. 9.

                                          13.

      Defendant Summer WWK LLC is a for-profit limited liability company

organized in the State of California. Summer WWK, LLC is the production

company established to produce SWWWK. At all relevant times, Defendant

Summer WWK LLC was an “employer” within the meaning of the FLSA, 29

U.S.C. § 203(d).

                                          14.

      Defendant HL Woods is the Executive Producer of SWWWK and the sole

manager of Summer WWK, LLC. Woods is a resident of the State of Michigan,

maintains a place of business in the State of California, and conducts business in

the State of Georgia. At all relevant times, Defendant Woods was an “employer”

within the meaning of the FLSA, 29 U.S.C. § 203(d). Defendant Woods is also

known as Howard Woods.

                                          15.

      Defendant Cherelle George is the Line Producer of SWWWK. At all

relevant times, Defendant George was an “employer” within the meaning of the




                                           6
        Case 1:21-cv-00423-MHC Document 1 Filed 01/27/21 Page 7 of 21




FLSA, 29 U.S.C. § 203(d). Upon information and belief, George is a resident of

the State of Georgia.

                                         16.

      At all times relevant to this lawsuit, Plaintiffs and similarly situated film

production crew members were engaged in commerce as Defendants’ employees

in that they handled goods, equipment and supplies which were used and

transported in interstate commerce.

                                         17.

      At all times relevant to this lawsuit, Defendants were an “enterprise engaged

in commerce or in the production of goods for commerce,” as defined in 29 U.S.C.

§203(s)(1).

                                         18.

      At all times relevant to this lawsuit, Plaintiffs and similarly situated film

production crew members were not exempt from the minimum wage or overtime

pay requirements of the FLSA.

                           FACTUAL ALLEGATIONS

                                         19.

      SWWWK is a feature length film about a baseball team’s quest to win a

state championship 50 years ago.

                                           7
        Case 1:21-cv-00423-MHC Document 1 Filed 01/27/21 Page 8 of 21




                                        20.

      Defendant Woods is the Executive Producer of SWWWK and is a principal

financier of the film. Woods exercised operational control over Plaintiffs and

similarly situated film production crew members and the production of SWWWK.

Defendant Woods also exercised control over payroll decisions with respect to

Plaintiffs and similarly situated film production crew members.

                                        21.

      Defendant George is the Line Producer for SWWWK. Upon information and

belief, Defendant Woods hired Defendant George to be Line Producer. As Line

Producer for SWWWK, Defendant George was responsible for the on-site

management of the SWWWK production crew. Defendant George had the power

to, and did, hire Plaintiffs and other SWWWK employees, and directed the work of

Plaintiffs and similarly situated film production crew members. Upon information

and belief, George also exercised control over payroll decisions with respect to

Plaintiffs and similarly situated film production crew members.

                                        22.

      Defendant Woods organized Defendant Summer WWK, LLC in the State of

California to serve as the production company for SWWWK. Defendant Woods is

the sole manager of Defendant Summer WWK, LLC.

                                         8
        Case 1:21-cv-00423-MHC Document 1 Filed 01/27/21 Page 9 of 21




                                        23.

      On or around August 2020, Defendants hired a Location Manager and

Location Scouts to find suitable locations in the Atlanta, Georgia metropolitan area

to film SWWWK.

                                        24.

      On or around September 2020, Defendants hired other “below-the-line”

production crew members to prepare for filming, which was anticipated to begin in

October 2020.

                                        25.

      Between August – October 2020, Defendants hired approximately 22

production crew members to work on SWWWK.

                                        26.

      Most, if not all, of the production crew members hired by Defendants were

out-of-work due to the COVID-19 pandemic since on or around March 2020, and

SWWWK was their first job since then.

                                        27.

      The production of SWWWK lacked sufficient financing to pay the crew

members. Plaintiffs and similarly situated film production crew members never

received any compensation for their work.

                                         9
       Case 1:21-cv-00423-MHC Document 1 Filed 01/27/21 Page 10 of 21




                                        28.

      Defendant Woods and Defendant George repeatedly assured Plaintiffs and

similarly situated film production crew members that payment for their services

was forthcoming. Based on such assurances, Plaintiffs and similarly situated film

production crew members continued to work for no pay.

                                        29.

      In or around October 2020, production on SWWWK was shuttered before

filming commenced and Plaintiffs and similarly situated film production crew

members were laid off.

                                        30.

      Or on around September 25, 2020, Defendant George sent an email stating

that Defendants were “dropping the project” until funds were available to pay

Plaintiffs and similarly situated film production crew members. Defendant George

asked Plaintiffs and similarly situated film production crew members to submit all

of their “timecards, start work and receipts” so they could be paid on Tuesday,

September 29, 2020.




                                        10
         Case 1:21-cv-00423-MHC Document 1 Filed 01/27/21 Page 11 of 21




                                         31.

        Plaintiffs and similarly situated film production crew members were not paid

on September 29, 2020 for their services provided on SWWWK or anytime

thereafter.

                                         32.

        Defendant Woods made the decision to not pay Plaintiffs and similarly

situated film production crew members.

                                         33.

        Plaintiff Kelsey Brennan was hired to work on SWWWK as a Graphic

Designer. Plaintiff Brennan worked for Defendants for approximately one week

and earned approximately $2,625.00 but did not receive any compensation for her

work.

                                         34.

        Plaintiff Kyle Coleman was hired to work on SWWWK as an Art

Department Leadman. Plaintiff Coleman worked for Defendants for approximately

one week and earned approximately $2,730.70 but did not receive any

compensation for his work.




                                         11
        Case 1:21-cv-00423-MHC Document 1 Filed 01/27/21 Page 12 of 21




                                       35.

        Plaintiff Caryn Frankenfield was hired to work on SWWWK as a Costume

Supervisor. Plaintiff Frankenfield worked for Defendants for approximately two

weeks and earned approximately $7,240.76 but did not receive any compensation

for her work.

                                       36.

        Plaintiff Frank Galline was hired to work on SWWWK as a Set Decorator.

Plaintiff Galline worked for Defendants for approximately two weeks and earned

approximately $5,570.31 but did not receive any compensation for his work.

                                       37.

        Plaintiff John A. Johnston was hired to work on SWWWK as a Location

Manager. Plaintiff Johnston worked for Defendants for approximately five weeks

and earned approximately $30,870.23 but did not receive any compensation for his

work.

                                       38.

        Plaintiff Dawn Snyder was hired to work on SWWWK as an Art Director.

Plaintiff Snyder worked for Defendants for approximately two weeks and earned

approximately $7,650.00 but did not receive any compensation for her work.




                                        12
         Case 1:21-cv-00423-MHC Document 1 Filed 01/27/21 Page 13 of 21




                                          39.

        Plaintiff Fredrick Waff was hired to work on SWWWK as a Production

Designer. Plaintiff Waff worked for Defendants for approximately four weeks and

earned approximately $21,913.82 but did not receive any compensation for his

work.

                                          40.

        Plaintiff Cory Geryak was hired to work on SWWWK as the Director of

Photography. Plaintiff Geryak worked for Defendants for approximately three

weeks and earned approximately $22,074.52 but did not receive any compensation

for his work.

                                          41.

        Plaintiff Sara Riney was hired to work on SWWWK as a Set Decoration

Buyer. Plaintiff Riney worked for Defendants for approximately one week and

earned approximately $1,757.80 but did not receive any compensation for her

work.

                                          42.

        After production was shuttered and Plaintiffs and similarly situated film

production crew members were not paid by Defendants, the International Alliance

of Theatrical Stage Employees, Local 479 (“IATSE Local 479”), a labor

                                          13
       Case 1:21-cv-00423-MHC Document 1 Filed 01/27/21 Page 14 of 21




organization that represents film and television production employees in Georgia,

including many of the Plaintiffs, contacted Defendant George to attempt to secure

payments to Plaintiffs and similarly situated film production crew members for

their work performed.

                                        43.

      Beginning in October 2020, IATSE Local 479 Business Agent Mike Akins

made multiple attempts to secure payment for Plaintiffs and similarly situated film

production crew members. Despite repeated assurances from Defendant George

that Defendant Woods would pay Plaintiffs and similarly situated film production

crew members, Plaintiffs and similarly situated film production crew members

were never paid.

                   COLLECTIVE ACTION ALLEGATIONS

                                        44.

      Plaintiffs bring the FLSA claim as an “opt-in” collective action on behalf of

similarly situated production crew members pursuant to 29 U.S.C. § 216(b).

                                        45.

      The FLSA claims may be pursued by those who opt-in to this case under 29

U.S.C. § 216(b).




                                        14
       Case 1:21-cv-00423-MHC Document 1 Filed 01/27/21 Page 15 of 21




                                         46.

      Plaintiffs, individually and on behalf of other similarly situated employees,

seek relief on a collective basis challenging Defendants’ practice of failing to pay

production crew members the federal minimum wage and overtime rate. The

number and identity of other plaintiffs yet to opt-in may be ascertained from

Defendants’ records, and potential opt-in plaintiffs may be notified of the

pendency of this action via U.S. mail and/or other appropriate means.

                                         47.

      Plaintiffs and the FLSA Class are “similarly situated” because, inter alia, all

such individuals were employed by Defendants, worked as production crew on

SWWWK, and were not paid minimum or overtime wages as required by the

FLSA. Resolution of this action requires inquiry into common facts, including,

inter alia, Defendants’ common compensation, timekeeping, and payroll practices.

                                    COUNT I
                   Violations of the Fair Labor Standards Act

                                         48.

      All previous paragraphs are incorporated as though fully set forth herein.

                                         49.

      The FLSA requires that covered employees be compensated for all hours

worked at a rate of not less than $7.25 per hour. 29 U.S.C. § 206(a)(1).
                                         15
          Case 1:21-cv-00423-MHC Document 1 Filed 01/27/21 Page 16 of 21




                                           50.

         The FLSA requires that covered employees are entitled to be paid at

Overtime Rate for all hours worked over forty (40) in a workweek. 29 U.S.C. §

207(a)(1).

                                           51.

         At all material times, Plaintiffs and other similarly situated employees were

non-exempt employees of Defendants.

                                           52.

         Defendants are subject to the wage requirements of the FLSA because

Defendants were an “employer” under 29 U.S.C. § 203(d) during all relevant

times.

                                           53.

         During all relevant times, Defendants were an “employer” engaged in

interstate commerce and/or in the production of goods for commerce within the

meaning of the FLSA, 29 U.S.C. § 203.

                                           54.

         During all relevant times, Plaintiffs and other similarly situated employees

were covered employees of Defendants, and as such were entitled to the above-

described FLSA protections. 29 U.S.C. § 203(e).

                                           16
        Case 1:21-cv-00423-MHC Document 1 Filed 01/27/21 Page 17 of 21




                                         55.

       By virtue of Defendants’ failure or refusal to pay Plaintiffs and other

similarly situated employees a minimum wage of at least $7.25 per hour for all

hours worked by Plaintiffs, Defendants violated the FLSA. 29 U.S.C. §§ 206 and

215.

                                         56.

       By virtue of Defendants’ failure or refusal to pay Plaintiffs and other

similarly situated employees at the Overtime Rate for all hours worked over forty

(40) in a workweek, Defendants violated the FLSA. 29 U.S.C. § 207(a)(1).

                                         57.

       Upon information and belief, Defendants also failed to make, keep, and

preserve records with respect to Plaintiffs and other similarly situated employees to

determine their wages, hours, and other conditions of employment in violation of

the FLSA. 29 U.S.C. § 211(c); 29 C.F.R. §§ 516.5(a), 516.6(a)(1), 516.2(a)(5).

                                         58.

       In violating the FLSA, Defendants acted knowingly, willfully, and with

reckless disregard of clearly applicable FLSA provisions.




                                          17
       Case 1:21-cv-00423-MHC Document 1 Filed 01/27/21 Page 18 of 21




                                        59.

      Defendants are liable to Plaintiffs and other similarly situated employees for

unpaid wages, liquidated damages, court costs and attorneys’ fees incurred in

recovering the unpaid wages. 29 U.S.C. § 216(b).

                                  COUNT II
                               Unjust Enrichment

                                        60.

      All previous paragraphs are incorporated as though fully set forth herein.

                                        61.

      By working on SWWWK and performing film production duties, Plaintiffs

provided Defendants the valuable benefit of their services.

                                        62.

      Plaintiffs’ services were valuable to Defendants, Plaintiffs’ services were

provided at the request of Defendants, Defendants’ receipt of the services without

compensating Plaintiffs would be unjust, and Plaintiffs expected compensation for

their services at the time they provided them to Defendants.

                                        63.

      By refusing to compensate Plaintiffs for the valuable services they provided,

Defendants have been unjustly enriched and are liable to Plaintiffs on the theory of


                                         18
         Case 1:21-cv-00423-MHC Document 1 Filed 01/27/21 Page 19 of 21




quantum meruit under Georgia law. Nextel South Corp. v. R.A. Clark Consulting,

266 Ga.App. 85, 86 (2004).

                                        64.

      The value of Plaintiffs’ services are set forth in paragraphs 33-41, above.

                                  COUNT III
                               Breach of Contract

                                        65.

      All previous paragraphs are incorporated as though fully set forth herein.

                                        66.

      Defendants entered into either express or implied contracts with Plaintiffs to

pay Plaintiffs at agreed-upon wage rates in exchange for their services on

SWWWK.

                                        67.

      Defendants breached the contracts by failing to pay Plaintiffs the agreed-

upon amounts.

                                        68.

      Defendants are liable to Plaintiffs for breach of contract under Georgia law.

                                        69.

      Defendants suffered damages in the amounts set forth in paragraphs 33-41,

above.
                                         19
        Case 1:21-cv-00423-MHC Document 1 Filed 01/27/21 Page 20 of 21




       WHEREFORE, Plaintiffs, individually and on behalf of all other similarly

situated persons, request:

       (a) that the Court declare that Defendants have violated Plaintiffs’ and other

similarly situated employees’ rights under the minimum wage and overtime wage

provisions of the FLSA;

       (b) that the Court award Plaintiffs and other similarly situated employees the

value of their unpaid wages;

       (c) that the Court award Plaintiffs and other similarly situated employees

liquidated damages as authorized by the FLSA;

       (d) that the Court award Plaintiffs compensatory damages in the amount by

which Defendants were unjustly enriched at Plaintiffs’ expense;

       (e) that that the Court award Plaintiffs compensatory damages for

Defendants’ breach of contract;

       (f) that the Court award Plaintiffs and other similarly situated employees

their expenses of litigation, including their reasonably-incurred attorneys’ fees as

authorized by the FLSA and/or Georgia law;

       (g) that the Court grant Plaintiffs and other similarly situated employees a

jury trial on all issues so triable; and




                                           20
          Case 1:21-cv-00423-MHC Document 1 Filed 01/27/21 Page 21 of 21




      (h) award such other further relief that this Court deems just, equitable and

proper.



      Respectfully submitted, this 27th day of January, 2021.

                                       By:    s/ Michael B. Schoenfeld
                                              Georgia Bar No. 863727
                                              James D. Fagan, Jr.
                                              Georgia Bar No. 253950
                                              Stanford Fagan LLC
                                              2540 Lakewood Avenue SW
                                              Atlanta, GA 30315
                                              (404) 622-0521, ext. 2244
                                              michaels@sfglawyers.com
                                              jfagan@sfglawyers.com

                                              s/ Robert S. Giolito
                                              Georgia Bar No. 296050
                                              Robert S. Giolito PC
                                              1626 Montana Ave., Ste 201
                                              Santa Monica, CA 90403
                                              (310) 897-1082
                                              rgiolito@giolitolaw.com

                                              Counsel for Plaintiffs




                                         21
